Case 1:05-cv-OlO45-.]DT-STA Document 5 Filed 08/29/05 Page 1 of 4 Page|D 13

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FoR THE wESTERN DISTRICT oF TENNEs,sEE "SFK ~

EASTERN DIVISION

 

TRAVIS WAYNE HUGHES,
Plaintiff,
vs

MCNAIRY COUNTY, TENNESSEE;
TOMMY RILEY, in his Off`lcial
Capacity as Sheriff of McNairy
County, and individually;

KEITH GATES, in his Official
Capacity as Deputy Sheriff with

the McNairy County Sheriff’s
Department and individually;

and JOE STUTTS,

Defendants.

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Case No. 1-05-]045 T An

 

SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following dates are

established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(3)(1): September 12, 2005

JOINING PARTIES:

for Plaintiff:
for Defendant:

AMENDING PLEADINGS:

for Plaintiff:
for Defendant:

COMPLETING ALL DISCOVERY:

'f'hfs document entered on the docket sheet |n compllance
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with Ru|e 58 and/or 79 (a) FRCP on

October 31, 2005
November 28, 2005

October 31, 2005
November 28, 2005

May 1, 2006

Case 1:05-cv-OlO45-.]DT-STA Document 5 Filed 08/29/05 Page 2 of 4 Page|D 14
(a) REQUESTS FOR PRODUCTION, INTERROGATORIES AND
REQUESTS FOR ADMISSIONS: May ], 2006
(b) EXPERT DISCLOSURE (Rule 26(a)(2):
(i) Plaintift`s Experts: March 1, 2006
(ii) Defendant’s Experts: April 3, 2006
(iii) Supplementation under Rule 26(e): April 13, 2006
(c) DEPOSITIONS OF EXPERTS: May 1, 2006
FILING DISPOSITIVE MOTIONS: April 24, 2006
FINAL LISTS OF WI'I`NESSES AND EXHIBITS (Rule 26(a)(3):
(a) for Plaintiff: June 9, 2006
(b) for Defendant: ' June 26, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expect to last 2- Days and is SET for JURY TRIAL on
Monday, Julv 24, 2006 at 9:30 A.M. Ajoint pertrial order is due on Friday, Julv 19. 2006 .
In the event the parties are unable to agree on a joint pretrial order, the parties must notify the Court
at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted to
the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or service of the response, answer, or objection which is the subject of the
motion if the default occurs Within 30 days of the discovery deadline, unless the time for filing of

such motion is extended for good cause shown, or any objection to the default, response, or answer
shall be waived.

Case 1:05-cv-OlO45-.]DT-STA Document 5 Filed 08/29/05 Page 3 of 4 Page|D 15

The parties are reminded that pursuant to Local Rule 7(a)(] )(A) and (a)(l)cB), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and
a Certiticate of Consultation.

The opposing party may file a response to any motion tied in this matter. Neither party may
file an additional reply, however, without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties With a definite trial date that will not be continued unless a continuance
is agreed to by all parties, or an emergency arises which precludes the matter from proceeding to
trial.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation With trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order Will not be modified or extended

IT Is so oRDERED. 1
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S. THOMAS ANDERSON
UNITED S'IE MAGISTRATE IUDGE

drua:f ZZ,. ZOo/F'

Date:

APPROVED FOR ENTRY:

 
 
 

C ARLES F FLEET JR B #009446

Anomey for Plainrirf f~/AW/VW"“
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BolivWN 38008 W

RKDONAHOE BPR #014049
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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01045 was distributed by fax, mail, or direct printing on
September 1, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

